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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                       GAINESVILLE DIVISION

 JUNK FOOD CUSTOM ARCADES,
 LLC

       Plaintiff,                          CIVIL ACTION NO:
                                           2:21-cv-00262-RWS
                    v.

 HIT BOX LLC.

       Defendant.


           PLAINTIFF JUNK FOOD CUSTOM ARCADES, LLC’S
            RESPONSE TO INFRINGEMENT CONTENTIONS

      Pursuant to Patent Local Rules 4.2(a), and in accordance with the parties’ Joint

Preliminary Report and Discovery Plan (Dkt. 20), Declaratory Judgment Plaintiff

Junk Food Custom Arcades (“JFCA”) serves to Declaratory Judgment Defendant

Hit Box, LLC (“Hit Box”) the following Response to Hit Box’s June 30, 2022

Infringement Contentions.

I.    PRELIMINARY STATEMENT AND RESERVATION OF RIGHTS

      This disclosure is directed to infringement issues only and does not address

invalidity issues. JFCA reserves all rights regarding such issues.



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      This Response to Infringement Contentions is preliminary and based on

JFCA’s knowledge, understanding, and belief of the facts and information available

to it at the time of service. In addition, the deadline for disclosure of expert opinions

is set for a date in the future as is the claim construction process; accordingly, JFCA

reserves the right to modify or supplement this Response to Infringement

Contentions in accordance with the opinions of experts and the Court’s claim

constructions. Discovery is ongoing. Accordingly, JFCA reserves the right to modify

or supplement this response at a later time with information later discovered.

II.   RESPONSE TO INFRINGEMENT CONTENTIONS

      Pursuant to LPR 4.2(a)(1), attached as Exhibits 1-3 to this Response to

Invalidity Contentions are claim charts responsive to the claim charts contained in

Hit Box’s June 30, 2022 Infringement Contentions, acknowledging or denying

whether each element of the asserted claims is present in the Accused Products (the

JFCA Snack Box V2 (Buttons Only Edition), the JFCA Snack Box V2 Mini

(Stickless Edition), and the JFCA Snack Box Micro). Exhibits 1-3 are incorporated

herein.




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III.   DOCUMENT PRODUCTION

       Pursuant to LPR 4.2(a)(2), other than documents previously produced as

JFCA 000704-000709, JFCA does not have any source code, specifications,

schematics, flow charts, artwork, formulas, or other documentation sufficient to

show the operation or composition of the Accused Products identified in Hit Box’s

Disclosure of Infringement Contentions.

Dated: July 20, 2022
                                          HILL, KERTSCHER & WHARTON, LLP

                                       /s/ John L. North
                                      John L. North (Georgia Bar No. 545580)
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
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JUNK FOOD CUSTOM ARCADES,
LLC

       Plaintiff,                        CIVIL ACTION NO:
                                         2:21-cv-00262-RWS
                    v.

HIT BOX LLC.

       Defendant.

       I HEREBY CERTIFY on this 20th day of July, 2022, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, which will send a
notification of such filing (NEF) to the following counsel of record:

                                Steven R. Daniels
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    This 20th day of July, 2022.

                       By:   /s/ John L. North
                             John L. North
                             Georgia Bar No. 545580

                             Attorney for Plaintiff




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